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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


  OX LABS INC.                                                       2:18−cv−05934−MWF−KS
                                                   Plaintiff(s),

           v.
  BITPAY, INC., et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




  PLEASE TAKE NOTICE:

  The following problem(s) have been found with your electronically filed document:

  Date Filed:         8/12/2019
  Document Number(s):                 28
  Title of Document(s):              Motion for Summary Judgment
  ERROR(S) WITH DOCUMENT:

  Pursuant to L.R 56−1− A party seeking summary judgment shall lodge a proposed Judgment; a party seeking
  partial summary judgment shall lodge a proposed Order.




  Other:

  See Local Rule 5−4.4.1− Electronic Lodging of Proposed Orders.
  Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
  document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
  notice unless and until the Court directs you to do so.


                                                   Clerk, U.S. District Court

  Dated: August 14, 2019                           By: /s/ Ingrid Valdes ingrid_valdes@cacd.uscourts.gov
                                                      Deputy Clerk

  cc: Assigned District Judge and/or Magistrate Judge



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Case 2:18-cv-05934-MWF-KS                Document
     Please refer to the Court’s website at           30 Filedfor08/14/19
                                            www.cacd.uscourts.gov Local Rules, Page
                                                                               General2Orders,
                                                                                        of 2 and
                                                                                               Page  ID #:190
                                                                                                 applicable forms.




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